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		OSCN Found Document:REINSTATEMENT OF CERTIFICATE OF CERTIFIED SHORTHAND REPORTER

					

				
  



				
					
					
						
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				REINSTATEMENT OF CERTIFICATE OF CERTIFIED SHORTHAND REPORTER2019 OK 13Decided: 03/25/2019THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2019 OK 13, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 



RE: Reinstatement of Certificate of Certified Shorthand Reporter



ORDER



Pursuant to 20 O.S. Chapter 20, §1503.1(B)(3), the Oklahoma Board of Examiners of Certified Shorthand Reporters has determined that good cause exists for granting an exemption for 2018 continuing education for Certified Shorthand Court Reporter Jeanna Whitten, CSR #1961. The Oklahoma Board of Examiners of Certified Shorthand Reporters has recommended to the Oklahoma Supreme Court that the certificate of the named Certified Shorthand Reporter be reinstated.

IT IS HEREBY ORDERED that the certificate of Jeanna Whitten, CSR #1961, shall be reinstated effective March 14, 2019 from the suspension earlier imposed by this Court.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 25TH day of MARCH, 2019.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.



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